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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

JULIUS WOLLFARTH                          *
                                          *                CIVIL ACTION NO. 20-1537
                        Plaintiff         *
                                          *
                                          *
                                          *                SECTION “T”
VERSUS                                    *                JUDGE GREG G. GUIDRY
                                          *
                                          *
CITY OF NEW ORLEANS; SHAWN D.             *
FERGUSON, INDIVIDUALLY, AND               *
IN HIS OFFICIAL CAPACITY AS               *                MAG. DIV. 4
SUPERINTENDENT OF POLICE; POLICE          *                MAG. JUDGE KAREN M. ROBY
OFFICER JOHN DOE 1 AND POLICE             *
OFFICER JOHN DOE 2                        *
                                          *
                        Defendants        *
                                          *
* * * * * * * * * * * * * * * * * * * * * *

                                             ORDER

       Considering the Plaintiff’s Ex-Parte Motion to Adopt and Join the Joint Status Report,

       IT IS ORDERED that the Motion (R. Doc. 17) is GRANTED and Plaintiff may
join the Joint Status Report filed by the Defendants on December 3, 2020 (R. Doc. 16).



                                     11th day of December, 2020.
       New Orleans, Louisiana, this _______




                    ____________________________________________
                                 DISTRICT JUDGE
